  Case 2:07-md-01873-KDE-MBN Document 13211-3 Filed 04/07/10 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA                                                 MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                SECTION “N-5"

                                                            JUDGE ENGELHARDT


THIS DOCUMENT IS RELATED TO:
Kennyetta S. Walker, et al v Scotbilt Homes, Inc.,
et al., Case No. 2:10-cv-270

______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

       Considering the foregoing Motion of Plaintiffs, Plaintiffs are allowed an additional sixty

(60) days or until __________________, 2010, to serve the Defendants.

       IT IS SO ORDERED that the Plaintiffs listed above be GRANTED the Motion for

Extension of Time to Serve.

       DATED this ____ day of _______________,2010 in New Orleans, Louisiana.



                                             By:     ____________________________________
                                                     KURT D. ENGELHARDT
                                                     UNITED STATES DISTRICT JUDGE


Submitted By:
Rose M. Hurder
Hawkins Stracener & Gibson, PLLC
153 Main Street
Bay St. Louis, MS 39520
Ph: (228)467-4225
Fax: (228)467-4212
rose@hsglawfirm.net
